442 F.2d 417
    UNITED STATES of America, Plaintiff-Appellee,v.George Luster EFFINGER, Defendant-Appellant.
    No. 30957 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    May 11, 1971.
    
      Appeal from the United States District Court for the Northern District of Alabama; Sam C. Pointer, District Judge.
      Lawrence B. Sheffield, Jr., Birmingham, Ala., for defendant-appellant.
      Wayman G. Sherrer, U. S. Atty., L. Scott Atkins, Asst. U. S. Atty., Birmingham, Ala., for plaintiff-appellee.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    AFFIRMED. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir., Isbell Enterprises, Inc. v. Citizens Casualty Company of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
      
        1
         See N. L. R. B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    